     Case: 1:18-cv-07719 Document #: 48 Filed: 04/18/19 Page 1 of 4 PageID #:386



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


Fairly Odd Treasures, LLC                      )
                                               )
v.                                             )      Case No. 1:18-cv- 7719
                                               )
THE PARTNERSHIPS and                           )      Judge: Rebecca R. Pallmeyer
UNINCORPORATED ASSOCIATIONS                    )
IDENTIFIED ON SCHEDULE “A,”                    )      Magistrate: Susan E. Cox
                                               )
                                               )
                                               )



                                Conditional Voluntary Dismissal


       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Fairly Odd Treasures, LLC,

voluntarily dismisses the Plaintiff’s case against the following Defendants, pursuant to a

settlement agreement reached by the parties:

 Doe    Store Name                                              Merchant ID
 206    emilyandlily                                            58d37de4b9675312e270d4b4
 260    goodservicezeng                                         58c39ae2b84d8f5066cd9760
 310    ioomobile                                               58aee445106ead522e95375b
 348    keeploveall                                             59b8f9603eb22a147a5b2e8b
 353    kimtobooks                                              5a25197bd4ffd365e2d3dee5
 367    leds4unow                                               58da44ed565f4952c0a6a51e
 414    luckyecho                                               59019618fc9cce11039b91f9
 440    moreaday                                                59db3d4d88dd767f6ffb7997
 444    motorfansclub                                           58b8062712f60b58fa3c2ab0
 452    muchmore2020                                            5a6be3237dee4a6b9d507c47
 469    nuli666                                                 5997a0fdb771733265b4d12e
 485    pablalmon                                               59a7d2c769eced1ba8c5ee06
 492    photodeals                                              58c69bf26a2537506b6fa561
 521    redbeat                                                 5a32324a7ce75c3d31561f8d
  Case: 1:18-cv-07719 Document #: 48 Filed: 04/18/19 Page 2 of 4 PageID #:387



566   shesmidas                                    5924e4598d8df11ef6c60095
576   silverelectronics                            561090ebb307de2232a6c2be
581   skyseller                                    55d1bf9878c04b103268986e
582   smalltwo                                     5a03fb7d471c147c6050ca72
586   sosoqiu                                      55ddac599d6a34104c8b303d
646   vovoboy                                      591ae0bb1339dd37c37fa8f8
668   wings99                                      583bc89805bcdc1b9ecf8fee
683   xgtechnology                                 561094d8453d330d6a1b1c37
733   yourswatch                                   58da0bc959d98d53553c828c
764   zhongf2021801                                56dfed0dd4d4b0168ef7e113
812   美汇达网络                                        544e0e515f313f775678e9e4
 22   QIUsujing                                    A3UH6UZACX29NN
 28   Tpingfe                                      A1CMB1SPFYLUNK
165   crqmxq745168                                 57b061d40f9aaf210c5acd50
271   haijingjinghu                                58590bffdb12d4506f3993b1
473   oceanfly                                     59132273bb57335c2d3bd0b6
221   fangfangliu                                  550bdc30dd699c1a025210fb
533   salamoertechcoltd/Vitastore                  53e09db9ff4d6d333c7f23e5
394   liuhongmei                                   58017fd7c782d45b0f5a5019
507   qingqing2236
589   sprlifestyle                                 5576d56cdde6031a11f11503
663   wenlinamw                                    5a7853a1a6f62e6c49da168d
714   yangyangok                                   5795e8d52b61d630c3f3ed32
749   zhangdongmei43                               58524dac4e21496b3899233b
787   上海贝斗星商贸有限公司/Gracefulvara                     55828f42ae78dc1d577e5d0d
129   caicaidrygoodsshop                           58b03b0e96f1bb3d39e399e1
151   chiccollector                                56172d8a1ef2a00da569294a
154   chineon                                      53df6845d911395f69d729f1
162   coolshengyuan                                58a7b3ba08f17a5057b4d56b
247   fytrading                                    541f801f9719cd3d428a484f
465   notetoo                                      58be8248a3f95946fc398cc4
502   pumio                                        569119f43a698c14c6356fc8
567   shhssvv                                      580f3c8cbb227259f2b95e75
661   weka                                         56caf09bbd8e87136f358aa8
807   Holala                                       550799ae04136a46f0451a3f
808   深圳蔓蔓日茂科技有限公司                                 55c2b0133a698c5d446c1f9a
 45   4love                                        569ccf774d78910db77449a7
 53   aihua_huang                                  59bbba641262ab1f20d50c18
 80   babysee                                      580467bd8bf5da1db10b7ed3



                                      2
    Case: 1:18-cv-07719 Document #: 48 Filed: 04/18/19 Page 3 of 4 PageID #:388



 104    beyourfavorite                                          56d7ee0b33980b1685af8614
 184    dewanxing                                               593003d27adb9f02ea97b7b5
 253    gmx_ltd                                                 5a329699fd9db84e4f61d5fe
 291    homemama                                                594e088e7fe2417882816757
 300    htyuanstore                                             5aa0e6e80e63fa2a23c46c5f
 338    jungencolimited                                         55cb275ad056ea1045a4ebeb
 364    lch_company                                             59cb9dba33f65c7f213fba69
 410    lqly1982                                                580dc16a615e6c1966b23a5e
 431    mengranstore                                            5aa25dba4f6b493afa231be0
 466    ns001                                                   58e0a6bd508b9f52b795d042
 480    openlife                                                5829a7c71004352e41ee60f4
 649    wanfeitechnologycoltd                                   589b146306ae312684f86ade
 680    wsl_ltd                                                 5a323b656f6023520a900094
 697    xingyifa_ltd                                            59a546ff8f545e260c581267
 707    yan_yang                                                59c280a50ec30f05fb3c66aa
 737    yt_company                                              59e5f4173eb22a6d519c3c94
 774    ziyun_gong                                              5985b9d221187f25ff25b139
 340    jupitercaptain                                          56dfd9f1e92d21169590028e
 682    xdbaba                                                  5a954508a71fbf1cda9d81d6
 702    xujs                                                    5a5d93769d0a7b0c415c2fd0
 706    xzfather                                                5a48badcdb0e42536387f1ff
 779    zyfmother                                               5a48e2921e7f7548b392356f



       Plaintiff requests that the dismissal be without prejudice and without costs to either party,

and with leave for Plaintiff to seek reinstatement within 21 days from the entry of this Notice of

Dismissal, should the Defendant fail to comply with the terms of the settlement agreement within

that time.


Dated: April 18, 2019


                                      Respectfully submitted,



                                By:     s/David Gulbransen/
                                      David Gulbransen
                                      Attorney of Record for Plaintiff


                                                 3
Case: 1:18-cv-07719 Document #: 48 Filed: 04/18/19 Page 4 of 4 PageID #:389




                           David Gulbransen (#6296646)
                           Law Office of David Gulbransen
                           805 Lake Street, Suite 172
                           Oak Park, IL 60302
                           (312) 361-0825 p.
                           (312) 873-4377 f.
                           david@gulbransenlaw.com




                                    4
